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    VIA ECF
    The Honorable Analisa Torres
    United States District Court
    Southern District of New York
    500 Pearl Street, Courtroom 15D
    New York, New York 10007

                       Re:        Hess and Padilla v. Bed Bath & Beyond. Inc.
                                  Index No. 1:21-cv-4099-AT

    Dear Judge Torres:

            We represent Defendant Bed Bath & Beyond Inc. (“Bed Bath & Beyond” or “Defendant”)
    in this matter. We write pursuant to your Honor’s Individual Practices III(A) for permission to
    file a Motion to Dismiss the First Amended Complaint (“FAC”) filed by Plaintiffs on September
    9, 2021 (ECF#19). Pursuant to your Honor’s Individual Practices III(B), Defendant sent a pre-
    motion letter to Plaintiffs on September 13, 2021 regarding deficiencies with the FAC. Plaintiffs
    responded on September 16, 2021, which did not adequately address the fatal deficiencies in the
    FAC.

             By way of background, Plaintiffs filed their initial Complaint on or around May 7, 2021.
    Early in the litigation, Defendant informed Plaintiffs that the job titles pleaded in the original
    Complaint were not accurate. On July 19, 2021, Defendant sent Plaintiffs a pre-motion letter
    pursuant to Your Honor’s Individual Practices III(B). On July 23, 2021, Plaintiffs responded by
    letter, signaling their intention to amend the Complaint to address the inaccuracies with respect to
    the alleged job titles, and to address certain other issues that Defendant raised in its July 19 letter,
    which we describe below. Plaintiffs filed their Amended Complaint; however, the amendments
    fall short of fully addressing the deficiencies raised in Defendant’s July 19 and September 13
    letters. As such, Defendant respectfully requests that the Court permit it to move to dismiss the
    FAC on two separate grounds: (1) Plaintiffs have failed to sufficiently allege Article III standing
    of an injury in fact; and, (2) Plaintiffs may not pursue a private right of action pursuant to the New
    York Labor Law (“NYLL”) § 191.

              Failure to Sufficiently Plead Article III Standing

           Plaintiffs have not sufficiently pleaded in the FAC that they maintain Article III standing,
    which requires Plaintiffs to demonstrate: (1) an ‘injury in fact,’ (2) a sufficient ‘causal connection
    between the injury and the conduct complained of,’ and (3) a likelihood that the injury ‘will be

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redressed by a favorable decision.’ Lujan v. Defenders of Wildlife, 504 U.S. 555, 560 (1992).
Plaintiffs have not satisfied the first element of this test because they have not alleged any “injury
in fact.” See Ross v. AXA Equitable Life Ins. Co., 115 F. Supp. 3d 424, 434 (S.D.N.Y. 2015) (“the
Court is not aware of (and Plaintiffs do not cite) any authority suggesting that a state legislature
can confer Article III standing upon a plaintiff who suffers no concrete harm merely by authorizing
a private right of action based on a bare violation of a state statute.”).

        The Supreme Court “has rejected the proposition that ‘a plaintiff automatically satisfies the
injury-in-fact requirement whenever a statute grants a person a statutory right and purports to
authorize that person to sue to vindicate that right.’” Transunion LLC v. Ramirez, 141 S. Ct. 2190,
2205 (2021). “Article III standing requires a concrete injury even in the context of a statutory
violation.” Id. “[U]nder Article III, an injury in law is not an injury in fact.” Id.

         The FAC does not allege any such injury in fact, i.e. a non-payment or underpayment of
wages, or any other wage-related violation. Rather, Plaintiffs allege only that they were paid a
week late for a portion of their bi-weekly paychecks. See FAC ¶¶ 21, 32 (ECF #19). Indeed, the
only purported “harm” or “injury” as alleged in the FAC is that Plaintiffs “were [] deprived of the
timely receipt and ability to use their money.” See FAC ¶ 78. This allegation, however, is merely
parroting the same alleged statutory violation, not a factual injury-in-fact. Thus, Plaintiffs have not
adequately pleaded standing for purposes of pursuing a claim in federal court. While Defendant
again offered to meet and confer with Plaintiffs over this deficiency, Plaintiffs continue to contend
(in their September 16) that their Amended Complaint is sufficient, as it has already been
“implicitly recognized” by other Courts such that it is a settled issue. None of the cases Plaintiffs
cite to, however, have explicitly (or implicitly) ruled on this issue.

        Further, to the extent Plaintiffs insist on bringing this claim on a class-wide basis, they are
attempting an end run around what is otherwise an impermissible action in state court as their
NYLL 191 claim for solely liquidated damages is barred (as there has been no alleged under- or
non-payment of wages). Under the New York Civil Practices and Rules, Section 901(b), Plaintiffs
cannot maintain a class action for a penalty, as is alleged here in the FAC, which seeks “liquidated
damages” (¶¶ 78, 89). (“Unless a statute creating or imposing a penalty, or a minimum measure
of recovery specifically authorizes the recovery thereof in a class action, an action to recover a
penalty, or minimum measure of recovery created or imposed by statute may not be maintained as
a class action.”). Federal district court is not, however, available to them either, as they are unable
to plead any factual injury, other than a pro forma technical violation of the NYLL, which, as
explained above, is not sufficient to confer Article III standing.

         NYLL § 191 Does Not Confer Upon Plaintiffs A Private Right of Action

        Defendant intends to move to dismiss the FAC because NYLL § 191 does not provide a
private right of action to Plaintiffs, which is clear from the text of the statute and its legislative
history. Prior to the decision from the First Department in Vega v. CM & Assoc. Constr. Mgt.,
L.L.C., 175 A.D.3d 1144 (1st Dep’t Sept. 10, 2019), the majority of courts to have considered the
issue found there was not a private right of action. See Coley v. Vannguard Urban Improvement
Ass’n, 2018 WL 1513628, at *13 (E.D.N.Y. Mar. 29, 2018) (denying liquidated damages for late
wages under § 191 because § 198 does not provide remedy); Belizaire v. RAV Investigative and

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Sec. Servs. Ltd., 61 F. Supp. 3d 336, 360 n.22 (S.D.N.Y. 2014) (noting that § 198’s liquidated
damages provision “is geared to afford relief for unpaid wages, not for late-paid wages”); Hussain
v. Pakistan Int’l Airlines Corp., 2012 WL 5289541, at *3 (E.D.N.Y. Oct. 23, 2012) (§ 198 provides
liquidated damages for “underpayment of wages” but not for “private recovery” for “technical
violations” of pay frequency requirements).

        While Plaintiffs cite to recent federal case law finding a private right of action post-Vega,
the courts that rendered decisions in such cases failed to provide any analysis of the issue that
would persuasively call into doubt the clear text and legislative history that makes clear that
employees cannot pursue a claim for liquidated damages on account of alleged late (but ultimately
fully paid) wages.

        Further, the Vega decision is not binding on this court, and the more persuasive analysis of
the statute, as well as the statutory history, leads to the result that there is no private right of action.



         Thank you for Your Honor’s attention to this matter.

                                                          Respectfully submitted,

                                                          /s/ Jeffrey H. Ruzal

                                                          Jeffrey H. Ruzal

cc:      Paul Pagano, Esq. and Steven Moser, Esq. (via ECF)




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